   Case 4:16-cv-00163-O Document 10 Filed 03/03/16             Page 1 of 3 PageID 1552


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

CONTENDER FARMS, LLP, ET AL.                    §
                                                §
VS.                                             §        ACTION NO. 4:16-CV-163-Y
                                                §
UNITED STATES DEPARTMENT OF                     §
AGRICULTURE                                     §

                          ORDER REQUIRING AMENDED COMPLAINT

        On February 29, 2016, Plaintiffs filed their original complaint

in this action.               After cursory review of the seventy-two page

document, which was accompanied by five large binders of "additional

attachments," the Court concludes that the pleading wholly fails to

comply with Federal Rule of Civil Procedure 8(a).

        Rule 8(a) requires:

        (1) a short and plain statement of the grounds for the
        court's jurisdiction, . . . ;

        (2) a short and plain statement of the claim showing that
        the pleader is entitled to relief; and

        (3) a demand for the relief sought . . . .

If Plaintiffs' seventy-two page complaint, which contains 211

separately numbered paragraphs, contains a jurisdictional paragraph,

it has been buried within a section of the complaint that is not so

denominated. More troublesome, however, is the fact that seventy-two

pages is hardly a "short and plain statement of the claim."

Plaintiffs'          complaint         even   includes    an   "introduction"   and      a

"conclusion," and is thus more akin to a brief or even a novel than

a pleading seeking relief from the Court.                      Cutting the pleading's

length by half or more would be a start towards achieving the "short


ORDER REQUIRING AMENDED COMPLAINT - Page 1
TRM/chr
   Case 4:16-cv-00163-O Document 10 Filed 03/03/16          Page 2 of 3 PageID 1553


and plain statement of the claim" that the rule contemplates.                    And

the complaint is wholly lacking a specific demand for relief, as there

appears to be no prayer for relief at the end of the complaint.

        Indeed, it appears that Plaintiffs have attempted to include

within one document the complaint, an application for preliminary

injunction, and a brief in support of same, but Plaintiffs wholly

fail to distinguish between the three documents.                  Furthermore, the

complaint simply is not the place for such arguments or briefing,

nor should the evidence in support of a motion be appended to the

complaint. Instead, Plaintiffs shall file an amended complaint that

is solely that. If they persist in their desire to seek preliminary

relief from the Court, they may do so in the form of a separately

filed motion, brief, and supporting appendix that complies with this

Court's local civil rules.                   See N.D. Tex. Civ. R. 7.1-7.2.

        The undersigned judge has experience with the work product

produced by the attorneys for the plaintiffs and, while those

attorneys are quite competent, they typically produce voluminous

pleadings, briefs, and appendices far in excess of the need.

Consequently, all of Plaintiffs' pleadings and briefs in this case

will be stricken (and repleading or rebriefing will be ordered)if

they are not concise and otherwise compliant with the federal and

local rules.

        As a result, Plaintiffs original complaint and "additional

attachments" (docs. 1-5) are UNFILED. If they so desire, Plaintiffs

may retrieve the Court's copies of these documents in the Court's

chambers within five days of this order or they will be discarded.

ORDER REQUIRING AMENDED COMPLAINT - Page 2
TRM/chr
   Case 4:16-cv-00163-O Document 10 Filed 03/03/16   Page 3 of 3 PageID 1554


Plaintiffs shall have until March 31, 2016, to file an amended

complaint that complies with Rule 8 and this order. Failure to timely

and completely comply with this order will result in the dismissal

of Plaintiffs' claims. Additionally, Plaintiffs shall serve a copy

of this order on Defendant, who has not yet been served with process

or appeared.

        SIGNED March 3, 2016.


                                             ____________________________
                                             TERRY R. MEANS
                                             UNITED STATES DISTRICT JUDGE




ORDER REQUIRING AMENDED COMPLAINT - Page 3
TRM/chr
